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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 1 of 16

County, the City of New York, acted toward Plaintiff under color of statutes, ordinances, customs, and
usage of the State of New York and the City of New York, and acted within the scope of her

employment. She is sued in her individual and her official capacities.

ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

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Powell had abused Plaintiff physically, mentally, and economically. Instead of investigating Plaintiff's
claims, following the mandates for crime and trafficking victims as is MANDATED by McKinney’s
and assisting her Plaintiff was arrested and charged with hundreds of counts of aggravated harassment
towards her batterer BASED ON THE ASSUMPTION THAT SHE WAS FABRICATING HER
ABUSE IN AN ATTEMPT TO HAVE POWELL ARRESTED FOR SAID ALLEGED
FABRICATED ABUSE even though no investigation into Price’s allegations had transpired. Plaintiff
was also charged with one count of contempt of court resulting in Plaintiff's false arrest, malicious
prosecution, unlawful Imprisonment, and defamation. Various abuses of process and Injurious
Falsehoods were levied against her in violation of her civil rights Constitutionally protected under the
Ist, 4th sth 6 gm 16" and 14th Amendments from unreasonable search and seizure, and
violations of procedural due process and the New York Constitution.

Plaintiff’s batterer (Raheem Andre Powell) enjoyed a privileged status with the MDAO and NYPD as
a result of several incidents: he had assisted in helping the police previously and warned her that she
would be unable to find sympathetic ears regarding his violence. More recently Powell had been
a complainant in an attempted murder case wherein his marijuana distribution hideout was robbed in
December of 2010 by an armed member of a central-Harlem gang. During that robbery the perpetrator
shot at Powell as he chased him up nearby Frederick Douglas Boulevard in front of the 28th precinct.
That young robber/shooter was key in unraveling knowledge about the “Goodfellas” and “137th st”
gang in Central Harlem, which were ‘brought to justice’ under fanfare and several public press
conferences by the district attorney’s office. Powell also had knowledge of other gang-related
(Crips/Bloods) activities that involved the murder of his cousin, Andre, in broad daylight on the corner
of 115th and Lenox in the Fall of 2010 among other pieces of information he on passed to the police.

As ADA Strohbehn at the time was a junior member of an anti-gang task force in Harlem (See Exhibit

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 2 of 16

# 18 Strohbehn Linked in Resumes—two different versions!) Plaintiff has a very hard time
understanding why Strohbehn was allowed to be the only ADA to evaluate the veracity of her
complaints when it was known that Plaintiff's Batterer was an active participant in one of ADA
Strohbehn’s investigations and clearly she would need to defend his credibility to assist in her *case-
building (*self-promoting career-building too.) Strohbehn after ‘cleaning up’ Harlem as a Junior
member of the anti-gang squad has been PROMOTED to now be the SENIOR LEADER on a similar
squad centered in MIDTOWN (see Exhibit #18 Strohbehn linked-in resume). This apparent conflict of
interest that exists between a crime victim and a crime perpetrator who also just so happens to be an
informant or complainant acting in a support capacity for the NYPD or MDAO needs to be properly
supervised and trained. The inherent conflict of interest and its existence still in the MDAO proves a
lack of PROPER supervision and training exists within the NYPD and MDAO as to how to ferret out
the good complaints from the bad, to initiate a full and fair investigation into allegations, and to ensure
oversight of decisions that make or break a prosecutor’s case.

October 11,2010: Raheem Powell attacks Plaintiff in street and beats her in the face and neck with his
cell phone at the intersection of 118th and St. Nicholas Ave (NW corner.) He beats her with his fists
and cell phone and Police are called. Police encourage Plaintiff to make a combined report of stolen
license plates, car, and Domestic Abuse all none. Plaintiff is not given copy of report. Police take
extensive photos of face, back and torso with bruises all over. Officers instruct parking garage to not
allow Powell to take my car out of garage. Raheem bribes parking lot owner and takes car even
though Police helped me remove one license plate and park suv in front of car.

On or About October 14, 2010 Plaintiff was not ready to initiate a prosecution against her batterer,
Raheem Andre Powell, as he had threatened her with blackmail and reminded Plaintiff that he had
Police connections and would ‘ruin Plaintiff’ if she reported his battery to the police (Exhibit 12 # text
message threats from Powell to Plaintiff). Upon arriving at the 28th Precinct on or about the morning
of October 4th, 2010 and informing the DV officers McNair and Diaz that she was choosing to not
initiate prosecution against Powell for beating Plaintiff on 10/11/2010 that had been discussed on or
about the evening of 10/13/10 Plaintiff asked the DV officers to tear up the 61 report. The previous

evening she had been told by the police that they would allow Plaintiff time overnight to think about if

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 3 of 16

she wanted to follow through with the filing of the complaint against Powell. Plaintiff was reticent to
go forward with her claim against Powell for several reasons including that Powell was blackmailing
(Exhibit 12# Text Message transcripts of blackmail threats by Powell to Plaintiff) Plaintiff by telling
Plaintiff that he would release intimately personal photos and information about Plaintiff's trafficking
as she was being coerced into prostitution by Powell to her family and colleagues if she ever went to
the police about the battery he unhanded to Plaintiff (please refer to Exhibit #12, cell phone
transcripts of messages sent to Plaintiff from Powell proving the blackmail and trafficking). The DV
officers had already elevated the report even though they had promised not to and it had been assigned
to Detective Simmons. Simmons, according to McKinney’s Social Services Law 483-cc which states
that “As soon as practicable after a first encounter with a person who reasonably appears to a law
enforcement agency or district attorney’s office to be a human trafficking victim, that agency or office
shall notify the office of temporary and disability assistance and the division of criminal justice
services...” (Exhibit # 49). Instead of treating Plaintiff as a trafficking and Domestic Violence Victim
Detective Simmons utilized a regularly issued process of evaluating her complaint and used her
complaint to coerce her batterer to reveal confidential information that was relevant and productive for
the NYPD and MDAO’s joint anti-gang, anti-gun effort nicknamed “Operation Crew Cut” of which
ADA Strohbehn was a member of.

INSTEAD of following appropriate protocols and reporting and investigative procedures as outlined in
the NYPD Handbook for evaluating DV and Trafficking victims (Exhibit # 50) Strohbehn and
Simmons labeled her as a “fabricator” and refused any investigation into her complaints against the
stipulations of McKinney’s which require a MANDATORY investigation into ALL COMPLAINTS
OF TRAFFICKING.

INSTEAD of performing the regularly issued processes as Mandated by the NYPD Patrolmen’s
Handbook for Domestic Violence victims (Exhibit #s 50) Simmons agreed to tear up Plaintiff's report
against Powell only if she wrote out a statement saying Plaintiff had made a false report and inflicted
injuries on herself and only if Plaintiff agreed to move out of the neighborhood. Simmons
recommended this course of action as it was “the easiest way to make the situation go away.” Simmons

stated that she needed overtime hours that day and as it was nearing the end of her shift and by booking

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 4 of 16

Plaintiff that day for filing a false police report she would get overtime hours. Simmons told Plaintiff
that as she had never been arrested that she would only receive a Desk Appearance Ticket and that no
one would go to jail. She also warned Plaintiff to keep her head down and that she should move out of
the neighborhood because from this point on “you’re on your own.”

The report that Plaintiff had made was for injuries inflicted on Plaintiff in public on the corner of
118th St. and St. Nicholas Avenue. People known to Plaintiff witnessed the events and she knew that
if her story was ever followed up on that the facts would come out so Plaintiff agreed to Simmons’
plan. Simmons informed Plaintiff that this was the only way she would not arrest Powell based on her
complaint filed without her permission by the DV officers. Detective Simmons coached Plaintiff on
how to retract her statement: asking Plaintiff to rewrite a synopsis of events several times Plaintiffs
each time asking Plaintiff to write the time at the top of the page much earlier than the last so that
Detective Simmons “cpuld receive overtime Plaintiff by catching the case with enough time to start to
work it” on or about 10/14/2010. A record of Simmons’ overtime request and payment is on file for
this day. Simmons helps Plaintiff write simple statement saying Plamtiff caused bruises to her own
face because she was in a fight with Powell and was mad etc. Plaintiff is arrested and given a desk
appearance ticket for falsifying a police report. DA declines to prosecute when Plaintiff make court
appearance the following month.

Night of November 11/12 2010: Raheem breaks into Plaintiff's house and is waiting for her when she
comes home. When Plaintiff entered her home Raheem attacked her, stole her money and choked her
until she passed out on her living room floor. When she regained consciousness she tried to run for the
door and screamed for help. At that point Raheem tried to detain her and she was thrown/pushed
through a 30-gallon fish-tank. When Raheem realized what he did he panicked and stepped in the
glass to pull Plaintiff out of tank as Plaintiff was sitting in glass and foul water. He stepped on glass in
his flip-flops and needed to be treated months later in December or early January at St. Luke's for an
infection he suffered from a shard of glass lodged in his foot from that evening that had become
infected.

Neighbors all called police and they were pounding on Plaintiff's door: there must have been 30

officers in her house that night. After much arguing with police (Raheem had disappeared out the back

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 5 of 16

door and the Police from the 28" pct. did not want to accompany Plaintiff to Metropolitan Hospital
which was much further away than nearby St. Luke’s Roosevelt) Plaintiff was taken to Metropolitan
Hospital and treated. The FDNY ambulance workers (Valentin was one of them) remember the
incident and commented on how strangely the police were acting. The doctor who treated Plaintiff can
also comment on this (dr. Albert Della Fave—ER Resident.) Dr Della Fave got in a shouting match
with detectives from the 28" squad as they would not leave Plaintiff alone while he was prepping her
for surgery.

MANY neighbors heard Plaintiff screaming for her life and called police that night. survey 911 calls
and Medical Professionals who Treated Plaintiff: FDNY Valentin: see copy of FDNY ambulance
report (EXHIBIT # 2) Dr. Albert Della Fave: Metropolitan Hospital ER Resident: 212 423 6262 to
attain a copy of DELLA FAVES INTERNAL DISPOSITION describing events with police and
Plaintiff's treatment beyond the scope of what is in her medical records. (see EXHIBIT # 2 Hospital
emergency Report). Plaintiff tries to make a new report at precinct two days later when she was able
to walk again and was told to come back when the DV officers are around. She returns the next day
and is told again to come back the next day. No report was ever taken of incident by NYPD despite
Plaintiff's efforts to do so.

November 17, 2010: Plaintiff is beaten by Nancy Powell, Raheem’s mother when she goes to her
house for help. Face completely covered in blood and deep scratches from her fake nails digging into
Plaintiff's flesh. Plaintiff has permanent facial scarring as a result. (Sec Exhibit # 1 Photo of deep
scratches on Plaintiff’s face dated 11/17/2010) Nancy Powell was given an ACD (2010NY092185)
which she violated by being re-arrested for marijuana possession six months later but the Das never
prosecuted her.)

November 22, 2010: Plaintiff approaches the 28" precinct five days after attack by Nancy Gaines,
mother of Raheem Powell. Police, noting extensive damage to Plaintiff’s face allow Plaintiff to make
report against Nancy Powell however they refuse to take a report for events that transpired on the
evening of November 1! 2010 where Raheem threw Plaintiff through a fish tank and instead the
precinct instructs Plaintiff to go to family court to attain a restraining order against him which she does

(Exhibit #26) THIS FAMILY COURT RESTRAINING ORDER IS DE FACTO EVIDENCE THAT

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 6 of 16

THE CITY OF NEW YORK HAD An OBLIGATION TO LOOK AFTER Plaintiff's INTERESTS
and that the NYPD and MDAO had a SPECIAL RELATIONSHIP TO PLAINTIFF ergo there is no
veracity to the assertion that these criminal justice agencies had leave to NOT protect Plaintiff. Asa
general rule, a municipality may not be held liable for injuries resulting from a simple failure to
provide police protection. To overcome this general rule, plaintiff would need to demonstrate a special
relationship or duty between her and the municipal agent (See McLean v City of New York, 12 N.Y.3d
194, 199 (2009.) The restraining order issued by Judge Sattler is evidence of a special relationship
between plaintiff and the municipal agent City of New York see Mclean v City of New York, 12 N.Y.
3d 194, 199 (2009.). It proves that the City of New York made promises to Plaintiff and took actions
that created an affirmative duty to act to protect plaintiff and that Plaintiff justifiably relied on this
promise, Plaintiff took the restraining order to police to serve and they tell Plaintiff to come back.
Plaintiff returned a few days later with Family Court restraining order and the precinct ostensibly
refuses to act on it: each day she walks the 175 yards from her home to the 28" pct and each time she
is told to come back the next day when officers will be available for service. Officers are never
available for service. Desk Sergeant Agron at the 28" Pct. openly mocks Plaintiff to her face each time
she enters precinct. Plaintiff makes IAB complaint against Desk Sergeant Agron.

December 22nd, 2010: Plaintiff is beaten, robbed, dragged into street after Raheem breaks into
Plaintiff’s house and steals her money and phones. Multiple witnesses cal! 91! for help. Precinct desk
sergeant Agron tells Plaintiff when she goes to make report that he will arrest Plaintiff for trespassing
if she doesn’t leave the precinct. Agron Refuses to act or to serve restraining order even though
Plaintiff has an active restraining order against Raheem. He refuses to look at it let alone serve it.
Plaintiff calls 911 from inside precinct to report his conduct and the operator tell Plaintiff they can’t do
anything to help Plaintiff. FOIA request has been made to DANY, NYPD and the Dept. of Technology
for all records of 911 calls.

January 27th 2011: fight with Raheem. Another fight. Plaintiff goes to precinct to make police report
of incident and sergeant Agron again tells Plaintiff that the only thing he can do for Plaintiff is to
“move Plaintiff to Nevada” (implying that Plaintiff is a some kind of filthy degenerate prostitute

unworthy of the NYPD’s assistance.) (See texts from Powell EXHIBIT #12).)

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 7 of 16

January 28th 2011: Plaintiff makes appeal to detective Simmons to help Plaintiff. Simmons agrees to
help initially and insists Plaintiff make reports about 12/20 and 1/27 incidents to DV officers when
they are in the next day. Simmons agrees to help Plaintiff if she tells her everything she knows about
Raheem’s drug-dealing and his connections etc. Plaintiff asks about signing a complaint for injuries
dating from 11/11/2011 and Simmons tells Plaintiff “it’s too late that the precinct will look bad.”
January 29th 2011: Interviewed by DTs about Raheem’s drug sales enterprise. They never ask
Plaintiff to show them pictures, ER reports etc. Detectives tell Plaintiff the only way they will help
keep Raheem away from Plaintiff and to get her car back from Raheem is if she presses charges
against Raheem.

January 30th 2011: DV officer McNair takes report of 12/20 incident and encourages Plaintiff to make
report about 1/27 incident. Plaintiff is leery b/c no one saw him harm Plaintiff on 1/27 but people did
see him harm Plaintiff on 12/20. Precinct tells Plaintiff that Raheem has been making reports against
Plaintiff and that if she doesn’t make report about 1/27 incident “decisions may be made that are not
in her favor.” Plaintiff asks again to make a report about incident on 11/10 and is told that; * too much
time has passed’ by Domestic Violence officers McNair and Diaz at the 28" pet.

On or about February 2, 2011, shortly after Plaintiff had filed a complaint against Powell with the 28th
Precinct the Plaintiff was contacted by ADA Strohbehn and asked to rush to the DA’s office. The city
had been blanketed by a snow blizzard the evening before and as Plaintiff was on 125" st at the time
she told Strohbehn it would be virtually impossible for her to make it to Centre st in less than an hour.
Regardless Strohbehn commanded Plaintiff to appear under verbal threat of arrest herself. When
Plaintiff appeared she was placed in the Safe Horizon Waiting room in the 2" floor of the Das office at
100 Centre st where she continued to wait for over 2.5 hours. When Strohbehn appeared she refused to
shake Plaintiff's hand in the waiting room upon introduction, ferociously holding her hands behind her
back when Plaintiff greeted her with her right hand out-stretched as it customary.

Plaintiff was commanded to a small interrogation room/office where Strohbehn told her upon arrival
that Powell would not be charged, that Plaintiff was believed to be a “fabricator” and a liar, and was
refused opportunities to provide evidence proving her story. ADA Strohbehn informed Plaintiff that if

Plaintiff makes another report against POWELL that she Strohbehn will “lock [her] up and throw away

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 8 of 16

the key.” Strohbehn informs Plaintiff “the only reason I’m not arresting you right now is because I did
not instruct you to bring counsel with you when I commanded you to appear at my office today.”
Strohbehn also informed Plaintiff that she had informed the 28th precinct that she will personally
handle all of Plaintiff's “police service needs” and if Plaintiff has “a bullet-hole in her [sic] head that
the NYPD is to call Strohbehn first before responding to any call from Plaintiff.” Strohbehn informs
Plaintiff that she has already assisted Powell in drawing up a Family Court petition to attain a counter
restraining order against Plaintiff in order to press counter-claims of harassment. Strohbehn further
instructs Plaintiff that even though she hasn’t been served that she is to show up in family court the
next morning to respond to Powell’s charges. She tells Plaintiff that she will be charged with contempt
of court if she does not show up in court: “as [Strohbehn] as an officer of the court am ordering you
[Plaintiff] to appear even though there is not time to serve [Plaintiff with] a subpoena (sic).” Strohbehn
tells Plaintiff her only concern is that “an innocent black man has been sitting in jail for 24 hours...”
Plaintiff asks to speak with Strohbehn’s supervisor to show her proof of the abuse and have her
neighbors interviewed etc. and Ms. Strohbehn informs Plaintiff that “she already checked with her
supervisor (Deputy DA Audrey Moore) and that she [Strohbehn] has been given [by Moore] carte
blanche to deal with Plaintiff with finality.” Plaintiff begged for someone to review the photographs
(Exhibit #1), hospital emergency room reports (Exhibit #2 ), receipts for broken windows and kicked-
down doors or to speak with her neighbors who had heard and seen the constant battery. Strohbehn
informs Plaintiff that she will “have to show her proof to the judge.”

Plaintiff’s landlord and others try to speak with Ms. Strohbehn to introduce investigatory evidence and
she rebuffs him and hangs up the phone on him before receiving contacts for other tenants in Plaintiffs
building who had provided information to Landlord of Plaintiff's abuse at the hands of Powell (please
see Exhibit 3 # letter from Landlord). Strohbehn’s actions were in retaliation for Plaintiff's exercise of
her rights to petition the Court for grievances and violated Plaintiff's 1st amendment rights and
privileges under the US Constitution also under 42 USC 1983. These acts Strohbehn took to act as
private attorney for Plaintiffs batterer by ordering a petition to be filed in Family Court on his behalf,
and stripping Plaintiff of her right to police services are not functional prosecutorial actions and

exercising them denied Plaintiff's rights under the Ist 4th and 14" Amendments under 42 USC 1983.

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 9 of 16

February 3rd: Powell tries to accost Plaintiff on way out of family court. ADA Maria Strohbehn
refuses to help Plaintiff file report about Raheem’s violation of restraining order/ conduct on way out
of court building. Plaintiff makes report with Det. Mortimer Plaintiff at Sth precinct as courthouse is

in this jurisdiction. Months later dt. Mortimer informs Plaintiff that he was told to not pursue an
investigation of her complaint.

Early February 2011: Neighbors tell Plaintiff that nude photos of Plaintiff have been texted around to
all the neighborhood boys. Plaintiff calls precinct and Strohbhen and no one will take report. She then
calls Detective Mortimer and he tells Plaintiff he can’t do anything. Lt. LArocca from the 28" pet.
encourages Plaintiff to make a report to the court and to the dept. of Investigations as he informs
Plaintiff that ADA Strohbhen has instructed the pct. to not take any reports from Plaintiff. (LT
LAROCCA has retired and living in Florida. Plaintiff Price has only FINALLY been able to track him
down as of August 10, 2015 Please See Exhibit #60 request for affidavit from Lt. Larocca.) Larocca
informed Plaintiff Price that each time she made a complaint of abuse, battery, assault, threats or was
attacked by neighbors in Harlem associated or not with her batterer, Raheem Andre Powell, that the
detectives in the 28 squad had to take the EXTRAORDINARY step of calling the MDAO and
requesting PERMISSION to proceed with an investigation into her allegations for the period of time he
remained under the employ of the 28" precinct. This treatment of her complaints as a victim of
trafficking and abuse were outside of the the REGULARILY ISSUED PROSESS followed by the
NYPD and the MDAO and proves that the MDAO took pains to unhand her unusual and excessive
punishment for making allegations against their prized informant. Lt. Larocca has agreed tacitly to pen
an affidavit describing these and other unusual steps the MDAO took to quelch Plaintiff Price’s Due
Process Rights and rights to equal protection under the law, right not to be unusually searched and
seized, or to be excessively punished. Such an affidavit will be included in any response to a motion to
dismiss that the City Law Department or other defendant attorneys should choose to bring to Plaintiff
Price’s complaint. *(See Exhibit #60 Letter to Lt. Larocca.)

February 2011 Plaintiff makes formal complaint to NYC Mayor’s office for the Prevention of
Domestic Violence about the lack of investigation into her allegations and collusion between her

batterer and MDAO. Strohbehn is taken off the case and is replaced by ADA Wells.

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 10 of 16

February 2011 Plaintiff contacts Deputy ADA of Special Victims and Domestic Violence, Larry
Newman. Newman informs Plaintiff that she will not be arrested and that often “Police and Das
disagree on cases and not to worry.” Newman invites Plaintiff to his office to provide evidence that
her story is true. Plaintiff informs Newman that she will arrange for a meeting when her lawyer
returns from vacation. Two weeks later when Greenberg returns to town Plaintiff calls Newman to set
up meeting and he never responds.

February of 2011 Plaintiff makes formal complaint to Mayor’s office: Strohbehn is taken off case.
February 23 (cq)2011: Plaintiff receives a call from officer Diaz at DV office of 28th precinct asking
Plaintiff to “come in to tell them how things are going.” Officer McNair admits to Plaintiff that
Raheem made claims of harassment against Plaintiff. He’s surprised to find out that Raheem and
Plaintiff had been discussing her pregnancy via telephone. Diaz Plaintiff she will be arrested even
though at time of conversation Plaintiff had no restraining order against her and Powell had one
prohibiting him from talking to her.

February 24, 2011: Plaintiff travels to 28" Precinct to discuss matter with Lt. LaRocca, LaRocca rips
up Powell’s complaint against her in front of Plaintiff, informs Plaintiff that “a war between upstairs
(detective squad) and downstairs (patrol officers)is taking place in the precinct” over her case.
LaRocca again informs Plaintiff that the DAs office has instructed precinct NOT to take any
complaints filed by Plaintiff and that her only recourse is to contact the Department of Investigations
and to make a complaint.

March 11, 2011 Assistants from Plaintiff's Family Court Lawyer’s office communicate with 28"
Precinct seeking assistance in delivering restraining order issued by Judge Sattler on November 22,
2010. Precinct acts strangely: inquires as to Plaintiff's whereabouts. (See Exhibit 42 # detailed
inventory of legal services provided from Atty Ed Greenberg)

March 16, 2010 Attorney Ed Greenberg faxes Dt. Flowers at 28" pct demanding an answer to his
question if he needs to surrender his client for any reason to the 28" pct. (Exhibit #13: Statements on
the court record ref his discussions of surrendering Plaintiff for arrest before family court hearing with
detectives from 28" pct). Later that afternoon via telephone conversation Dt. Flowers inquires as to

Plaintiff's whereabouts and denies any charges have been filed/will be filed against her and assures

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 11 of 16

Greenberg that he does not need to surrender his client to the precinct. (See Exhibit #13 Greenberg
statements on court record regarding communiqués to 28th precinct and Exhibit #42 Itemized
communication between Greenberg and Precinct noting conversation with Dt. Flowers.)

On or about late February or early March 2011 Plaintiff miscarried a child she was carrying fathered
by Powell.

On March 24, 2011 Plaintiff is arrested in front of Judge Sattler in Family Court as she tries to have a
restraining order extended against Powell by various detectives from the 28" precinct inside the Family
Courthouse and then handed over to Detective Flowers of the 28th precinct. Plaintiff is charged with
hundreds of counts of aggravated harassment against Powell (Exhibit #4). THE STATUTE USED TO
PROSECUTE PLAINTIFF IS FOUND TO BE AN UNCONSTITUTIONAL LIMITATION OF ist
AMENDMENT RIGHTS AND IS STRUCK DOWN BY THE NY State Appellant Court (Exhibit
#61) Plaintiff's OP is restricted and Powell’s is given precedence barring Plaintiff from special
proximity to Powell but not vice-versa (Exhibit 25 & 26). Technically every time Plaintiff entered her
home she was in violation of Powell’s OP granted this day by Sattler as a direct result of Detective
Simmons’ false testimony provided under oath as Powell lived next door unofficially in a studio he
illegally sublet and ran his drug-distribution from,

On March 24th, 2011 Detective Simmons PERJURED HERSELF IN COURT when she was called in
front of Judge Sattler in Family Court and asked if she had investigated Plaintiff's claims of abuse and
if they were credible. Simmons replied “no” (Exhibit #13 ) even though she had not questioned
Plaintiff about her emergency room visits, reviewed photos of injuries taken by her neighbors, or

interviewed her building super, landlord or neighbors about the ongoing abuse.
Judge Sattler:... Detectives investigated the stories?
Detective Simmons: Yes
Judge Sattler: And they don’t find her story to be credible?

Detective Simmons: No.

After Simmons answered that she did not believe Plaintiff's allegations even though she had not

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 12 of 16

investigated them whatsoever, Judge Sattler allowed four officers from the precinct to cuff Plaintiff in
the Family Court House on Lafayette St in her courtroom and transport Plaintiff back to the 28th
precinct for booking and further criminal processing on 324 counts of aggravated harassment..
DETECTIVE SIMMONS HAD NEVER INVESTIGATED PLAINTIFF’S ALLEGATIONS OF
ABUSE & SHE PERJURED HERSELF IN OPEN COURT. Detective Simmons NEVER followed
the NYPD Handbook procedures for a DV investigation and or McKinney’s Laws for evaluating and
protecting trafficking victims. THESE STATEMENTS CAUSED INJURY TO PLAINTIFF NOT
ONLY IN THE EYES OF THE COURT BUT ALSO IN THE EYES OF THE DA AND THE NYPD.
In November of 2011 Plaintiff filed [AB complaint # 11-55009 against detective Simmons about her
perjuring herself under oath in front of Family Court Judge and failing to investigate Plaintiffs abuse
claims (see court transcript Exhibit #13). Detective Rogers on 11/29/2011 logged this. It was marked
unsubstantiated by Lt. Franqui. No one called Plaintiff or followed up with Plaintiff. The Office of
the NYPD Inspector General is now investigating (Exhibit #40).

It is long-held that state agents, including Police Officers, receive immunity when testifying in court.
Detective Simmons had not even asked Plaintiff to sign HPPA forms releasing her ER reports, which
according to the NYPD handbook is a crucial step of ANY domestic violence investigation. This and
other affidavits prove detective Simmons willfully lied to the court with RECKLESS DISREGARD &
DELIBERATE INDIFFERENCE for Plaintiff’s rights and thus satisfies the standard applicable to
violations of Plaintiff’s Constitutional DUE PROCESS rights. What is af issue is can the city be held
liable for the consequent wrongs unhanded to Plaintiff because of this lie. SCOTUS just tefused to
hear a case on this very issue citing: “police’s obligation to disclose highly exculpatory evidence to the

prosecutors... is widely recognized” upholding a 9th circuit ruling:

“A jury determined the officers had demonstrated deliberate indifference or reckless disregard for
Walker’s rights or for the truth, and had withheld or concealed evidence that strongly indicated
Walker’s innocence, the 9th Circuit said...“A police officer’s continuing obligation to disclose

highly exculpatory evidence to the prosecutors to whom they report is widely recognized,”

Later that evening as Plaintiff is being arraigned the ADA standing in the court part, Ms. Zeinreich,

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 13 of 16

eagerly tells Judge she is filing and expedited count sheet and requesting for a restraining order against
Plaintiff and filing a family registry. These statements are made before any member of the Das office
investigated any of Plaintiff's allegations. NO one asked Plaintiff to sign HPPA forms, to review
photographs or for numbers of neighbors that could confirm her allegations.

Spring 2011: Plaintiff miscarries her child. It is a long, drawn-out miscarriage that is painful and
protracted.

On or about May 8, 2011, Plaintiff is arrested again and taken to Rikers Island on the charge of
Contempt of Court (Exhibit #5) by Detective Samuel Fontanez, shield #00311 of the 28" Detective
Squad. Plaintiff overall served between eight to ten days incarcerated in the tombs and on Rikers
Island. While incarcerated Plaintiff was attacked by other inmates and had her belongings stolen by the
guards. When Plaintiff was released on bail she had to travel home to Harlem via subway and bus
barefoot as her shoes had been stolen by the guards at Rikers (Exhibit # 6). She also contracts a sinus
infection that disables her hearing in her right ear for over six months. Her asthma and breathing
disintegrate and Plaintiff is sent to infirmary for medical treatment and assessment of prescriptions for
sinus/ear infection and pain.

May/June 2011: Jumped by women's shelter dwellers at 233 W. 120th st. who do drugs with
Raheem’s cousins across the street three times. Police called: they refuse to help.

Have “Queen for a Day Meeting with Lawyer Kartagener and members of the Das office (Kenya Wells
and Larry Newman.) See Exhibit # 11 Queen for a Day Debriefing agreement). Price hands over cell
phones that are NEVER returned despite promises that they will be at the commencement of current
litigation against client. Several of Plaintiff’s attorney’s reach out to MDAO requesting phones
returned as is customary and all requests are denied.

June 2011: St. Luke’s & Roosevelt Hospital’s Crime Victims’ Center makes call to liasons @ Das
office asking for review of case. Agreements had been made between DV community and
Prosecutors’ offices for a procedure of review to take place when a defendant is identified by
advocates to be a true victim not recognized by the court. The calls for the review of case fall on deaf
ears. Calls were made to: Christine Quinn Yureni Sanchez, Constituent Liasion.

Detective Simmons, ADA Strohbehn, Deputy District Attorney Moore, and ADA Kenya Wells never

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 14 of 16

investigated Plaintiff's claims of trafficking and abuse at the hands of Powell before charging her with
hundreds of crimes against Powell against the tenets of McKinney’s and the NYPD Patrol Handbook.
They failed to interview her landlord and neighbors (and even lied about this); never looked at or
compared photos of Plaintiff's severe injuries to hospital emergency room reports; never requested that
Plaintiff sign HPPA forms releasing medical records, refused to collect/accept other evidence such as
911 calls, receipts for repair work for broken windows or doors that had been kicked down that proves
that regular battery had taken place against Plaintiff by Powell. They accused Plaintiff of fabrication
without knowing or seeking to examine the facts and then initiated an elongated, over-zealous,
malicious and incorrectly charged case against her .

The (unconstitutional) criminal statute for Aggravated Harassment (ruled unconstitutional) requires
counts to be charged “per incident” which was not the done in this case.

Instead, defendants WILLFULLY AND WITH MALICE initiated a Criminal prosecution of Plaintiff
which was based on the manufactured, unfounded, and false belief that she was a fabricator and had
self-inflicted her injuries. No one bothered to interview the medical personnel who had treated Plaintiff
for her injuries regardless of the requirements of McKinney’s and of the NYPD Patrol Handbook.
Plaintiff’s batterer was walking free: everyone in her community was looking at her in strange ways
and distancing himself or herself from her. Others openly confronted her with violence in her
neighborhood. She was assaulted by various people who had known her batterer for decades who had
heard swirling rumors fueled from the actions of the 28th precinct. For two years the pallor of serious
criminal charges hung over Plaintiff: the threat of incarceration for potentially hundreds of years and
the complete alteration of the life she had built for herself hung in the balance. Plaintiff refused to take
a plea that admitted any sort of guilt for crimes of any kind against Powell. She was the one who had
gone to the police for help in the first place after suffering countless attacks on her person at his hands.
Powell’s favorite method of abuse was to choke Plaintiff. He would watch her suffer and struggle and
panic as she fell into a stupor from lack of oxygen. Now Plaintiff watched in court as Powell used the
“Justice System” to literally choke the life out of everything Plaintiff had in the world.

Plaintiff to date despite repeated requests has not received her bail of $2000.00 back (Exhibit # 8).

When Plaintiff was subsequently assaulted by various parties associated or not with her ex-intimate

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 15 of 16

partner in her neighborhood and attempted to file complaints to the NYPD she was informed that the
Manhattan DAs office had instructed the precinct involved not to take her complaint or to not follow-
through on any investigation of her allegations. This happened on numerous occasions notably:
716/3/2013, 5/17/13, 10/17/12, 07/27/12: (incident #2012-020-2969), 714/12, 4/17/12, 1/20/12,
12/1/11, 8/13/11, 8/4/11, 8/2/11. Refusing/failing to investigate are violations of Plaintiff's 14th
amendment rights to equal protection under the law and 8" amendment rights to due process. Plaintiff
has incident IDs, emergency room reports and ambulance records and eyewitness statements for most

of these incidences.

8/2/11: Plaintiff is assaulted (punched in the face and chest when Plaintiff went outside of her
Brownstone at 237 w 120" st to check her mailbox at the top of her brownstone steps) in front of her
home by neighbors associated with the cousin of her ex intimate partner and batterer, Raheem Andre
Powell. Plaintiff called 911. And p.o. Cooley shield # 14327 responded and told Plaintiff she was
not allowed to receive police services, that the pct. had been informed by the DAs office that she was
‘crazy’ and that even if he took an incident report nothing would come of it. Plaintiff called 911
around 1230 pm. Cooley and his partner arrived at 1250 pm. Plaintiff followed up the next day to get
incident ID# and was ignored and never received a call back from a detective investigating the assault
or from the clerk in the 28 pct. who assigns the ID #. Eventually in 2012 Lt. LaRocca looked up the
incident and provided and ID# to Plaintiff.

8/11/11: Told by associates of her intimate partner and batterer, Raheem Andre Powell, who were
exiting 239 w 120th next to her brownstone where Raheem operated his drug distribution in apt #2
upstairs on the second floor in the back of the building (overlooking her backyard and bedroom
window) that ‘YOU would be taken care of? and that YOU should fear for Your life. Plaintiff
immediately Called 911 to report death threats around 330pm. P.O. Bonaparte (did not provide shield
#) responded with partner around 400pm and took incident report. No one followed up with Plaintiff.
She followed up and received a complaint number from It. larocca who looked it up for Plaintiff,
complaint # 201 1-28-003732. No one ever followed up with Plaintiff about these threats or arrested

the perps. They continued to threaten and intimidate Plaintiff each time Plaintiff encountered them for

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Case 1:15-cv-05871-KPF Document 4-1 Filed 08/13/15 Page 16 of 16

the next two years saying; ‘no one cares about you at the precinct, no one gives a shit if anything
happens to you Kelly...’

8/16/11: Plaintiff is Assaulted by associate of RAP on her way home from store and punched in the
face. After Plaintiff called 911 an ambulance arrived and treated Plaintiff, police took report and told
her that they were told not to extend Police services to Plaintiff. No one ever followed up. See photos
of busted face taken by FDNY ambulance workers (Exhibit # 1 photos dated 8/16/11)

8/31 9/1 2011: Plaintiff is harassed by associates of RAP. PO EBRIGHT PO RAMAN and PO Ehlers
respond and tell Plaintiff she should move out of neighborhood, they harass Plaintiff about associating
with ‘these people in this neighborhood’ and refuse to take complaint. PO Ebright tells Plaintiff he
hopes he responds to one of her complaints one day and ‘finds Plaintiff lying on the sidewalk in front
of her brownstone with a knife in her back.’

9/1/2011. Plaintiff Filed complaint vs. Officers Bright, Ebright and Raman as well as Sergeant Agron
for incident on 8/31. IAB complaint # 11-39869 PO EBRIGHT PO RAMAN and PO Ehlers). This
complaint was marked by the 28 precinct as unsubstantiated by an officer on unknown rank named
Lopez. When they arrived on scene and Ebright said to Plaintiff, “Miss Plaintiff 1 hope someday I am
called to your home and you are lying dead on the sidewalk with a knife in you...”

IAB Complaint # # 11-31923 was marked “wnsubstantiated” by It. Rentas and 1 1-43253 was closed by
a 28 squad investigator and closed by It. laburda: 678 1608. No one ever contacted Plaintiff to
interview Plaintiff regarding these complaints. (AN INVESTIGATION HAS NOW BEEN OPENED
BY THE OIG NYPD SEE EXHIBIT # 40 )

9/24/11 In the wake of the ten-year anniversary of the tragedy of 9/11 the city erupted with violent
clashes between Occupy Wall Street protestors and the NYPD. The whole of the city was on edge.
Plaintiff had called police after being manhandled by an over-zealous man in a bar and been humiliated
by the officers who arrived. After the officers refused to take report Plaintiff walked away and said
“Ya'll should go fuck yourselves you don’t help anyone.” Plaintiff did not scream this at the top of her
lungs: she said it as she turned to walk away with despair and tears rolling down her face and was
apprehended forcefully from behind causing bruises to my entire body.(Exhibit # 10 Injuries sustained

from Police beating Officer Winters of Midtown South)

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